                           UNITED
         Case 2:23-cv-00160-TOR   STATES
                                ECF No. 38 Dfiled       COURT
                                                  03/04/24
                                              ISTRICT      PageID.388 Page 1 of 1
                                EASTERN DISTRICT OF WASHINGTON

  PREPARED FOOD PHOTOS, INC., f/k/a                        Case No. 2:23-CV-0160-TOR
  ADLIFE MARKETING &
  COMMUNICATIONS CO., INC., a Florida                      CIVIL MINUTES
  for-profit corporation,
                                                           DATE: 3/4/2024
                           Plaintiff,
                                                           LOCATION: Spokane
                     vs.
                                                           TELEPHONIC SCHEDULING
  POOL WORLD, INC., a Washington                           CONFERENCE
  for-profit corporation,

                           Defendant.


                                              JUDGE JAMES A. GOEKE

  Melissa Orosco                        Heather Foe               N/A             Not Reported

  Courtroom Deputy                      Law Clerk                Interpreter      Court Reporter

  Lauren Hausman                                         Paul Levy
  Max Archer                                             Steve Kirby

  Plaintiff's Counsel                                    Defendant's Counsel

[ ] Open Court                            [ ] Chambers                    [X] Telephonic

       All parties present by phone.

       Parties are all able to attend a one-day settlement conference on May 14, 2024, at 9:00 a.m. in Spokane.
The Court made everyone aware all parties who have authority to accept settlement need to be available during
the mediation.




[ X ] ORDER FORTHCOMING

  CONVENED: 3:05 PM                ADJOURNED: 3:13 PM         TIME: 8 MINS             CALENDARED [    ]
